     Case
      Case1:20-cv-00190-RSK
           1:20-cv-00190-RSK ECF
                              ECFNo.
                                  No.17-2  filed10/20/20
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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

APRIL HAWKEN,                                  :
                                               :
               Plaintiff,                      :      Civil No. 1:20-CV-00190
                                               :
v.                                             :      Ray Kent
                                               :      United States Magistrate Judge
ANDREW SAUL,                                   :
Commissioner of Social Security,               :
                                               :
                 Defendant.                    :

                                           JUDGMENT

        Pursuant to Federal Rule of Civil Procedure 58, judgment is hereby entered for Plaintiff,

reversing the Commissioner’s final decision and remanding this matter to the Commissioner for

further proceedings pursuant to sentence four of section 205(g), 42 U.S.C. § 405(g).

Date:    October 20, 2020
                                                    /s/ Ray Kent                       .
                                               Ray Kent
                                               United States Magistrate Judge
